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                              UNITED STATES DISTRICT COURT FOR THE
8
                                WESTERN DISTRICT OF WASHINGTON
9                                         AT TACOMA
10
      UNITED STATES OF AMERICA,                                   CASE NO. CR13-5597BHS
11
                              Plaintiff,                          ORDER GRANTING UNITED STATES’
12
                         v.                                       MOTION FOR A PROTECTIVE ORDER
13                                                                TO MAINTAIN CUSTODY OF
      EDGAR RODRIGUEZ IBARRA,                                     PROPERTY
14    JUAN MANUEL GOMEZ-RUIZ,
      JUAN CUATRO-REVELO,
15    JENNIFER KLEPACH,
16    GARY POLSTON, and
      FRANCISCO RODRIGUEZ-PEREZ,
17      aka SANTOS BARRAGAN-PEREZ,
18      aka JOSE SANDOVAL MALDANADO,
                              Defendants.
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20
             This matter comes before the Court upon motion of the United States for a protective
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     order, pursuant to Title 21, United States Code, Section 853(e)(1)(A) and Title 18, United
22
     States Code, Section 983(a)(3)(C), to maintain custody of certain property named for
23
     forfeiture in the Superseding Indictment filed in this matter on November 14, 2013. Having
24
     reviewed the United States’ motion, the Court finds:
25
             The property to which this Order refers to is as follows:
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             a. $10,617.00 in U.S. currency, more or less, seized from the residence of JUAN
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                 MANUEL GOMEZ-RUIZ on or about October 29, 2013;
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     POST-INDICTMENT PROTECTIVE ORDER - 1                                              UNITED STATES ATTORNEY
                                                                                       1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Edgar Rodriguez Ibarra, et al. (Case No. CR13-5597BHS)
                                                                                        TACOMA, WASHINGTON 98402
                                                                                               (253) 428-3800
            Case 3:13-cr-05597-BHS              Document 137          Filed 03/24/14      Page 2 of 3




 1           b. $9,019.97 in U.S. currency, more or less, seized from the residence of
 2               FRANCISCO RODRIGUEZ-PEREZ, on or about October 29, 2013;
 3           c. $970.00 in U.S. currency, more or less, seized from the residence of JUAN
 4               CUATRO-REVELO, on or about October 29, 2013;
 5           d. One (1) 2006 black Mercedes Benz C230, Washington license plate: AIX5559,
 6               VIN: WDBRF52H66F730974, seized from JENNIFER KLEPACH, on or about
 7               October 29, 2013;
 8           e. One (1) 9mm Semi-Automatic Taurus PT92AF Pistol, serial number: THJ48588,
 9               seized from a Dodge Durango, California license plate: 5ACA466;
10           f. One (1) .16 gauge Mossberg pump shotgun, model 190KA (serial number
11               obliterated);
12           g. One (1) gray 2004 Ford F-150, Washington license plate: B37517R, VIN:
13               1FTPW12584KA67578, seized from JUAN MANUEL GOMEZ-RUIZ; and
14           h. One (1) .45 caliber Smith and Wesson handgun, serial number: MPY4471.
15 The Property, as described above, has been named in the November 14, 2013 Superseding
16 Indictment in this case as subject to forfeiture, and more particularly described in the
17 Government’s First Bill of Particulars filed February 26, 2014. The Property is currently in
18 the custody of the United States Marshal’s Service and Drug Enforcement Administration,
19 and is subject to administrative forfeiture notice and claim proceedings under Title 18,
20 United States Code, Section 983.
21           The United States is entitled to a protective order pursuant to Title 21, United States
22 Code, Section 853(e)(1)(A) based on the fact that the Property is included in the Superseding
23 Indictment, which alleges that, upon conviction, the Property is subject to forfeiture. This
24 demonstrates the probable cause necessary for the continued restraint and custody of the
25 Property pending conclusion of the criminal forfeiture proceedings in this case and pending
26 further order of the Court.
27
28

     POST-INDICTMENT PROTECTIVE ORDER - 2                                              UNITED STATES ATTORNEY
                                                                                       1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Edgar Rodriguez Ibarra, et al. (Case No. CR13-5597BHS)
                                                                                        TACOMA, WASHINGTON 98402
                                                                                               (253) 428-3800
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1            It is therefore
2            ORDERED AND ADJUDGED:
3            1. The United States’ motion for a protective order is GRANTED.
4            2. The Property, as identified above, shall remain in the custody of the United States
5                Marshal’s Service and Drug Enforcement Administration pending conclusion of
6                the criminal forfeiture proceedings and further order of this Court.
7            3. The Clerk is ordered to send copies of this Order to counsel for all parties of
8                record.
9            DATED this 24th day of March, 2014.
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14
                                                       A
                                                       BENJAMIN H. SETTLE
                                                       United States District Judge
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17
18
     Presented by:
19
20    s/Matthew H. Thomas
     MATTHEW H. THOMAS
21   Assistant United States Attorney
22   United States Attorney’s Office
     1201 Pacific Avenue, Suite 700
23   Tacoma, Washington 98402
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26
27
28

     POST-INDICTMENT PROTECTIVE ORDER - 3                                              UNITED STATES ATTORNEY
                                                                                       1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Edgar Rodriguez Ibarra, et al. (Case No. CR13-5597BHS)
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